Case 4:17-cv-00893-ALM Document 351 Filed 05/03/19 Page 1 of 4 PageID #: 18315


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION




 HUAWEI TECHNOLOGIES CO., LTD.,
 a Chinese corporation, and                                         No. 4:17-cv-893
 FUTUREWEI TECHNOLOGIES, INC., a                                    Judge Mazzant
 Texas corporation,
               Plaintiffs,
        v.
 YIREN RONNIE HUANG, an individual, and
 CNEX LABS, INC., a Delaware Corporation,
               Defendants.

                                             ORDER

        Pending before the Court is Plaintiffs’ Motion in Limine (Dkt. #297). After reviewing the

relevant pleadings, and hearing the argument of the Parties regarding Defendants’ Motion in

Limine, the Court finds as follows:

1.      Plaintiffs’ Motion in Limine No. 1: Any opinion testimony by any witness who has not
        been designated as an expert or opinion witness, including Yiren Ronnie Huang.

     ________ Granted            X
                              ________       Denied         ________       Agreed

2.      Plaintiffs’ Motion in Limine No. 2: References to the Chinese government, the
        Chinese Communist Party, criminal charges or allegations against Plaintiffs, or
        references that are otherwise designed to portray Plaintiffs as a national security threat
        through political or other governmental reports, other lawsuits, or media stories.

       X
     ________ Granted         ________       Denied         ________       Agreed

3.      Plaintiffs’ Motion in Limine No. 3: Portions of rebuttal expert reports that claim that
        chips are developed in 6 months.
        X
     ________ Granted         ________       Denied         ________       Agreed

4.      Plaintiffs’ Motion in Limine No. 4: Reference to intellectual property not disclosed in
        Huang’s Employment Agreement or disclosed to Plaintiffs.

                                X
     ________ Granted         ________       Denied         ________       Agreed


                                                1
Case 4:17-cv-00893-ALM Document 351 Filed 05/03/19 Page 2 of 4 PageID #: 18316




5.       Plaintiffs’ Motion in Limine No. 5: Alleged trade secrets that CNEX and Huang took
         no steps to protect.

      ________ Granted         X
                              ________       Denied        ________       Agreed

6.       Plaintiffs’ Motion in Limine No. 6: Expert testimony or argument on topics for which
         Defendants failed to provide an expert report or analysis.

      ________ Granted          X
                              ________       Denied        ________       Agreed

7.       Plaintiffs’ Motion in Limine No. 7: Claims and damages relating to lost sales of
         CNEX chips.

      ________ Granted          X
                              ________       Denied        ________       Agreed

8.       Plaintiffs’ Motion in Limine No. 8: All evidence regarding Defendants’ allegation
         that Huawei would have purchased chips from CNEX.
      ________ Granted            X
                               ________      Denied        ________     Agreed

9.       Plaintiffs’ Motion in Limine No. 9: Any claims by Defendants of misappropriation of
         trade secrets based on acts prior to Huang’s departure from Futurewei.

      ________ Granted          X
                              ________       Denied        ________       Agreed

10.      Plaintiffs’ Motion in Limine No. 10: Any suggestions that Huang’s agreement with
         Futurewei is ambiguous.
         X
      ________ Granted        ________       Denied        ________       Agreed

11.      Plaintiffs’ Motion in Limine No. 11: The filing of any motion in limine and attendant
         circumstances.


      ________ Granted        ________       Denied         X
                                                           ________       Agreed and mutual

12.      Plaintiffs’ Motion in Limine No. 12: Any suggestion that Plaintiffs have engaged in
         discovery abuse, litigation misconduct, or other extraneous bad acts.


      ________ Granted        ________       Denied          X
                                                           ________       Agreed and mutual




                                                2
Case 4:17-cv-00893-ALM Document 351 Filed 05/03/19 Page 3 of 4 PageID #: 18317




13.    Plaintiffs’ Motion in Limine No. 13: Any suggestion that testimony in English is
       superior to testimony in another language.

________      Granted         ________       Denied             X
                                                             ________       Agreed and mutual

14.    Plaintiffs’ Motion in Limine No. 14: Evidence at trial from a party that is contrary to
       30(b)(6) testimony given by that same party in this matter.

________      Granted            X
                              ________       Denied          ________       Agreed

15.    Plaintiffs’ Motion in Limine No. 15: Plaintiffs’ size, wealth, total profits, or total
       revenues.
  X
________      Granted         ________       Denied          ________       Agreed

16.    Plaintiffs’ Motion in Limine No. 16: Lay testimony or documentary evidence on
       matters stricken from Defendants’ expert reports.
      Court takes this request under advisement.

17.    Plaintiffs’ Motion in Limine No. 17: Disparagement or unnecessary commentary
       regarding the nationality or place of residence of a party or witness.
  X
________      Granted and mutual                ________ Denied           ________      Agreed

18.    Plaintiffs’ Motion in Limine No. 18: Any reference or suggestion that complying with
       the laws or customs of a particular nation in which a party is doing business is
       improper or justifies conduct on the part of another party that would itself be wrongful.
  X
________    Granted as to laws                X
                                           ________ Denied as to customs        ________ Agreed

19.    Plaintiffs’ Motion in Limine No. 19: Any settlement agreements, offers, negotiations,
       or the lack thereof.
  X
________      Granted         ________       Denied          ________       Agreed

20.    Plaintiffs’ Motion in Limine No. 20: Lawsuits against others or lack of lawsuits
       against others.
  X
________      Granted but doesn't prevent testiomony regarding experts that have testified in other matters

21.    Plaintiffs’ Motion in Limine No. 21: The legal or financial consequences of a finding
       against Defendants or any awarded remedy, including consequences for CNEX, its
       employees, and/or its customers

  X
________      Granted and mutual           ________ Denied                      ________ Agreed




                                                3
    Case 4:17-cv-00893-ALM Document 351 Filed 05/03/19 Page 4 of 4 PageID #: 18318




    22.   Plaintiffs’ Motion in Limine No. 22: Unpleaded claims or defenses.
.   ________     Granted       ________      Denied           X
                                                           ________       Agreed and mutual

    23.   Plaintiffs’ Motion in Limine No. 23: Claims that have been dismissed.

    ________     Granted       ________      Denied           X
                                                           ________       Agreed and mutual

          IT IS SO ORDERED.

          SIGNED this 3rd day of May, 2019.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE




                                                4
